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13                    UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
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   THE CALIFORNIA INSTITUTE OF                NO. CV 16-3714-GW-AGRx
15 TECHNOLOGY,
                     Plaintiff,               JUDGMENT
16
        vs.
17 BROADCOM LIMITED, BROADCOM                 Hon. George H. Wu
   CORPORATION, AVAGO                         United States District Judge
18 TECHNOLOGIES LIMITED, AND
   APPLE INC.,
19
                     Defendants.
20 BROADCOM LIMITED, BROADCOM
21 CORPORATION, AVAGO
   TECHNOLOGIES LIMITED, AND
22 APPLE INC.,
                     Counterclaim-
23                   Plaintiffs,
24      vs.
   THE CALIFORNIA INSTITUTE OF
25 TECHNOLOGY,
26                   Counterclaim-
                     Defendant.
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28
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 1        This action was tried to a jury beginning on January 14, 2020, in Courtroom
 2 9D of the above-entitled Court, before the Honorable District Court Judge George H.
 3 Wu. On January 29, 2020, the jury returned a verdict in favor of Plaintiff the
 4 California Institute of Technology (“Caltech” or “Plaintiff”) and against Defendants
 5 Broadcom Limited, Broadcom Corporation, Avago Technologies Limited
 6 (collectively, “Broadcom”) and Apple Inc. (“Apple”) on all questions except the
 7 question of willful infringement. Dkt. 2114 (redacted); Dkt. 2115 (sealed).
 8        NOW THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED
 9 THAT JUDGMENT IS HEREBY ENTERED IN THIS MATTER AS
10 FOLLOWS:
11        1.     Broadcom has infringed Claims 20 and 22 of U.S. Patent No. 7,116,710
12 (“the ’710 Patent”); Claims 11 and 18 of U.S. Patent No. 7,421,032 (“the ’032
13 Patent”); and Claim 13 of U.S. Patent No. 7,916,781 (“the ’781 Patent”).
14        2.     Broadcom has not willfully infringed Claims 20 and 22 of the ’710
15 Patent; Claims 11 and 18 of the ’032 Patent; or Claim 13 of the ’781 Patent.
16        3.     Apple has infringed Claims 20 and 22 of the ’710 Patent; Claims 11 and
17 18 of the ’032 Patent; and Claim 13 of the ’781 Patent.
18        4.     Apple has not willfully infringed Claims 20 and 22 of the ’710 Patent;
19 Claims 11 and 18 of the ’032 Patent; or Claim 13 of the ’781 Patent.
20        5.     Claims 20 and 22 of the ’710 Patent; Claims 11 and 18 of the ’032 Patent;
21 and Claim 13 of the ’781 Patent are not invalid under 35 U.S.C. §103; 35 U.S.C. §102;
22 35 U.S.C. §112; or 35 U.S.C. §101.
23        6.     Judgment is entered against Broadcom and Apple on their counterclaims
24 and/or affirmative defenses of non-infringement; invalidity; laches, waiver, estoppel,
25 unclean hands; inequitable conduct; preclusion; and failure to mark.
26        7.     Caltech shall recover (1) $270,241,171.00 from Broadcom on the jury
27 verdict; (2) $18,004,985.49 in pre-judgment interest on the jury’s verdict from
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 1 Broadcom; (3) $837,801,178.00 from Apple on the jury verdict; (4) $47,640,650.64
 2 in pre-judgment interest on the jury’s verdict from Apple.
 3         8.    As provided in 28 U.S.C. § 1961, Caltech shall also recover post-
 4 judgment interest, running from the date of this Judgment until the Judgment is paid,
 5 on all amounts listed in paragraph 7 above, as well as on any supplemental damages,
 6 if awarded, at a rate equal to the weekly average one-year constant maturity Treasury
 7 yield as of the week preceding the date of this Judgment, compounded annually.
 8         9.    Caltech shall recover an ongoing royalty from both Apple and Broadcom
 9 at the rates set by the jury verdict. The Court will determine the products to which
10 this ongoing royalty applies after the anticipated appeal in this action is resolved.
11 Caltech shall also recover post-judgment interest on any ongoing royalties, running
12 from the date of accrual until the Judgment is paid, at a rate equal to the weekly
13 average one-year constant maturity Treasury yield as of the week preceding the date
14 of this Judgment, compounded annually.
15         10.   The Court will resolve the pending request for supplemental damages
16 after the anticipated appeal in this action is resolved.
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     DATED: August 3, 2020
20                                            HON. GEORGE H. WU
21                                            United States District Judge
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